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Bnves fh. WILLIAMS
Vita CHEWIDENT2iCOiiG FROOUCTS OCPARTMAT

July 7, 1972

Mr. Robert L. Sansom

Acting Assistant Administrator
for Air and Water Programs ~-

Environmental Protection Agency

401 M Street, SW. . .

Washington, D.C. 20460 .

Dear Mr. Sansom:

On June 14 we Wrote to express our objection to the
proposed EPA National Emission Stunderds for Ashestos.
Since writing, we have-had additionul discussions with
Mr. Dale Slaughter of EPA in North Carolina.

Mr. Slaughter has informed us that he feels that there
is justification for pormitting the use of L& asbestos
in cement or plaster ype fireproofing materials to
Serve as a pumping aid additive.

EPA investigations have revealed that a small amount of
asbestos is an essential ingredient in materials which
are pumpod and sprayed, and which have a high content

of inorganic binder, such as portiand or gypsum cement.
EPA concluded that if asbestos wore prohibited in these
materials many important materials would be made commer:
cially impractical since they could not be applied,
Turthor, they concluded that since, in these materials
the ashestos content is low, the binder content high,
and the materials are puwaped and sprayod in a wet slurry
form, the possible asbestos emissions from the materials
would bo so low as to be of no real consequence,

Permitting the use of asbestos as an additive in those
fireproofing materials which have a major wet gypsum or
cement content is consistent with other judgements ninade

by HPA and therefore appropriate. ‘The prohibition against

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Nr. Robert ‘L. Sansom
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the usc of any commercial ashestos in these fireproofing
materials could have the effect of forcing these materials
off the market because of the inubility to pump and apply
then. .

We therefore Support a change in the proposed regulations
‘to allow a 1% asbestos content in cement or Bypsumn type
fireproofing materials.

However, such a chango would not correct the basic objec-
tions we raised in our June 14 letter to you. We still
feel that EPA should establish uniform standards which
apply to a11 materials and which control asbostos emissions
rathcr than arbitrarily ban materials for use in a few
applications. In fact, there is sctious question whethor
EPA has authority under section 112 of the Clean Air Act

to ban the use of any product, since that soction speaks
in terms >f emissions from “any stationary source or new
source” which are defined to mean “auy building, structure,
facility or installation which emits or may emit any air
pollutant". Obviously a product such as a fireproofing
product is none of these.

Very truly yours,

Bruce R. Williams
. Vice President
Zonolite Construction Products
. Division
W. R. Grace §& Co,

BRW/ej

cc: Mr. Dale Slaughter
Environmental Protection Agency
Research Triangle Park
North Caroling

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